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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

                              CASE NO. 8:18-mc-00057-MSS-AAS



 ANDREW MACKMIN, et al.,
                                   Plaintiffs,    Action Pending in United States
                                                  District Court for the District of
                      v.                          Columbia

 VISA INC., et al.,                               No. 1:11-cv-01831-RJL
                                   Defendants.


 MARY STOUMBOS,
                                   Plaintiff,     Action Pending in United States
                                                  District Court for the District of
                      v.                          Columbia

 VISA INC., et al.,                               No. 1:11-cv-01882-RJL
                                   Defendants.


 NATIONAL ATM COUNCIL, INC., et al.,
                                   Plaintiffs,    Action Pending in United States
                                                  District Court for the District of
                      v.                          Columbia

 VISA INC., et al.,                               No. 1:11-cv-01803-RJL
                                   Defendants.


                                  JOINT STATUS REPORT
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        Pursuant to the Court’s September 28, 2018 Order, the parties respectfully submit the

 following Joint Status Report concerning Plaintiffs’ pending motion to compel subpoenaed

 documents from third-parties Armed Forces Financial Network (“AFFN”) and Fidelity National

 Information Service, Inc. (“FNIS”).

        I.      AFFN Status

        In accordance with the Court’s Order, on October 19 AFFN timely produced an agreed

 upon sample of its Interchange Reports. In reaching an agreement on the sample, AFFN offered

 to meet and confer with Plaintiffs to answer questions Plaintiffs might have in interpreting the

 sample. On October 26 Plaintiffs emailed AFFN that it had questions regarding the sample and

 an initial meet-and-confer was scheduled for October 31. The same day, Plaintiffs’ counsel also

 called AFFN’s counsel and AFFN’s counsel requested that Plaintiffs put their questions in

 writing in advance of the meet-and-confer. On the evening of October 29, Plaintiffs sent

 AFFN’s counsel a list of questions. AFFN’s counsel subsequently cancelled the October 31

 meet-and-confer because they did not yet have sufficient information for a meaningful

 discussion, and provided written responses to several of Plaintiffs’ inquiries on November

 1. The same day, Plaintiffs requested that AFFN clarify its responses and address the remainder

 of Plaintiffs’ preliminary inquiries. AFFN currently is evaluating these requests.

        II.     FNIS Status

        In accordance with the Court’s September 28 Order, FNIS served on October 8 Amended

 Objections and Responses to Plaintiffs’ subpoenas. On October 16, the parties conferred

 telephonically and, as part of that discussion, Plaintiffs requested that FNIS produce samples of

 certain billing and transactional data described in FNIS’ Amended Objections and Responses.

 Plaintiffs also asked FNIS to specify the date range over which its billing data are available.


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 FNIS took these requests under advisement and agreed to meet-and-confer again on October 23.

 FNIS subsequently cancelled the October 23 meet-and-confer and also cancelled a rescheduled

 call set for October 31. FNIS’ main business contact was out of the office through October 29,

 so counsel was not in a position to meaningfully investigate Plaintiffs’ inquiries. On November

 1, Plaintiffs requested that FNIS address Plaintiffs’ October 16 requests for data samples and

 date-range information. FNIS currently is evaluating these requests and intends to respond.

        III.    No Disputes Require the Court’s Attention at this Time

        With meet-and-confers ongoing, the parties do not believe that any action by the Court is

 needed at this stage. Unless otherwise directed by the Court, the parties intend to submit by

 November 15, 2018 a further Joint Status Report addressing the parties’ progress and whether

 any disputes necessitate the Court’s involvement.



 DATED this 2nd Day of November 2018          Respectfully submitted,

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 Scot Garner d/b/a SJI; Turnkey ATM Solutions, LLC; Trinity Holdings Ltd, Inc.; and T&T
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 Dated: November 2, 2018

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                                 CERTIFICATE OF SERVICE

           I hereby certify that on November 2, 2018, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to all

 CM/ECF participants.


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